                              Case 18-11780-BLS                      Doc 1       Filed 08/02/18            Page 1 of 18

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                       Delaware
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Brookstone Holdings Corp.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            Brookstone
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             2     7      0 1      2    4 6 3 8
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            One        Innovation Way
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Merrimack                  NH       03054
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           Hillsborough
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.brookstone.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                  Case 18-11780-BLS              Doc 1        Filed 08/02/18            Page 2 of 18

Debtor
                 Brookstone Holdings Corp.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  5 ___
                                              4 ___
                                              ___   2 9 ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                          ✔



                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).
                                                          
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor                      Delaware                     04/03/2014                  14-10752
      within the last 8 years?            Yes. District _______________________
                                          ✔
                                                                                 When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a                       See Rider 1
      business partner or an              Yes. Debtor _____________________________________________
                                          ✔
                                                                                                     Relationship _________________________
      affiliate of the debtor?                      District _____________________________________________ When             __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
                              Case 18-11780-BLS                 Doc 1        Filed 08/02/18            Page 3 of 18

Debtor          Brookstone Holdings Corp.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name




11. Why is the case filed in this       Check all that apply:
   district?
                                        
                                        ✔
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                        
                                        ✔
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have          No
                                         ✔

   possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number         Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________        _______     ________________
                                                                            City                                           State       ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




          Statistical and administrative information



13. Debtor’s estimation of              Check one:
   available funds                       Funds will be available for distribution to unsecured creditors.
                                         ✔



  RQDFRQVROLGDWHGEDVLV
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            
                                                                          ✔
                                                                            1,000-5,000                             25,001-50,000
14. Estimated number of
                                         50-99                            5,001-10,000                            50,001-100,000
   creditors
                                         100-199                          10,001-25,000                           More than 100,000
  RQDFRQVROLGDWHGEDVLV                200-999

                                         $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                         $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                         $100,001-$500,000               
                                                                          ✔
                                                                            $50,000,001-$100 million                $10,000,000,001-$50 billion
                                         $500,001-$1 million              $100,000,001-$500 million               More than $50 billion
  RQDFRQVROLGDWHGEDVLV



 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
                             Case 18-11780-BLS                    Doc 1         Filed 08/02/18          Page 4 of 18

Debtor        Brookstone Holdings Corp.
             _______________________________________________________                           Case number (if known)_____________________________________
             Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                         $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
  RQDFRQVROLGDWHGEDVLV                $500,001-$1 million               
                                                                            ✔
                                                                              $100,000,001-$500 million                More than $50 billion


           Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                            petition.
   debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 08/02/2018
                                                        _________________
                                                        MM / DD / YYYY


                                        8   /s/ Stephen A. Gould
                                            _____________________________________________               Stephen A. Gould
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Secretary
                                            Title _________________________________________




18. Signature of attorney
                                        8   /s/ Sean M. Beach
                                            _____________________________________________              Date          08/02/2018
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Sean M. Beach
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Young Conaway Stargatt & Taylor, LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                                        Rodney Square, 1000 North King Street
                                            _________________________________________________________________________________________________
                                            Number      Street
                                             Wilimington
                                            ____________________________________________________            DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (302) 571-6621
                                            ____________________________________                            sbeach@ycst.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             No. 4070
                                            ______________________________________________________  Delaware
                                                                                                   ____________
                                            Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 18-11780-BLS          Doc 1    Filed 08/02/18      Page 5 of 18




                                                  Rider 1

       The Debtor and each of the affiliated entities listed in the table below filed in this Court a
voluntary petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101-1532.



 Brookstone Holdings Corp.

 Brookstone, Inc.

 Brookstone Company, Inc.

 Brookstone Retail Puerto Rico, Inc.

 Brookstone International Holdings, Inc.

 Brookstone Purchasing, Inc.

 Brookstone Stores, Inc.

 Big Blue Audio LLC

 Brookstone Holdings, Inc.

 Brookstone Properties, Inc.
                                  Case 18-11780-BLS                Doc 1          Filed 08/02/18               Page 6 of 18

 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVHDQGWKLVILOLQJ


                %URRNVWRQH+ROGLQJV&RUS
 'HEWRU1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                             'HODZDUH
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB 'LVWULFWRIBBBBBBBBBB
                                                                               6WDWH 
 &DVHQXPEHU If known     BBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLW
WKLVIRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQW
DQGDQ\DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKH
GRFXPHQWDQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



             Declaration and signature



         ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRU
         DQRWKHULQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

         ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW


          Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%
          Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
          Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
          Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*
          Schedule H: Codebtors 2IILFLDO)RUP+
          Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
          $PHQGHG ScheduleBBBB
         ✔✔   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders 2IILFLDO)RUP

         ✔                                              &RPELQHG &RUSRUDWH 2ZQHUVKLS 6WDWHPHQW
              2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW


                       
        ([HFXWHGRQ BBBBBBBBBBBBBB                       8    V6WHSKHQ$*RXOG
                                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                           00''<<<<                       6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU



                                                                 6WHSKHQ$*RXOG
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                3ULQWHGQDPH

                                                                  6HFUHWDU\
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                3RVLWLRQRUUHODWLRQVKLSWRGHEWRU



2IILFLDO)RUP                          'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
                                     Case 18-11780-BLS                   Doc 1     Filed 08/02/18               Page 7 of 18

Debtor name        %URRNVWRQH+ROGLQJV&RUS
UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                    12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                claim is
mailing address, including zip              email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


1   Ssg-Shenzhen Yuan Chuang                Ssg-Shenzhen Yuan Chuang               Merch                                                                        $39,399,679.50
    Int'L Trading Company Ltd               Tel: 86-755-2970-1598
    Guangdong Province, 518101              Email: simonfung@sanpowergroup.com




2   Sz Telstar Co, Ltd                      Sz Telstar Co, Ltd                     Merch                                                                           $827,156.78
    Attn:Controller                         Tel: 952-239-9241
    Merrimack, NH 03054                     Fax: 0755-89567502
                                            Email:
                                            rezaaghelnejad@comtechsales.com



3   Simon Property Group, Inc.              Simon Property Group, Inc.             Rent                                                                            $779,146.19
    225 West Washington Street              Tel: 317-263-7742
    Indianapolis, IN 46204                  Email: Erica.Mace@simon.com




4   After Shokz LLC                         After Shokz LLC                        Merch                                                                           $473,952.00
    6057 Corporate Drive                    Tel: 315 657 1295
    East Syracuse, NY 13057                 Email: bill@aftershokz.com




5   Asia Combine Co., Ltd                   Asia Combine Co., Ltd                  Merch                                                                           $453,019.53
    17 Riverside St                         Tel: 714-851-0688 / 86 130 2881 5373
    Nashua, NH 03062                        Email: asiacomb@icloud.com /
                                            gchen@asiacomb.com.cn




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                           Page 1
                                    Case 18-11780-BLS                  Doc 1   Filed 08/02/18               Page 8 of 18


Debtor name        %URRNVWRQH+ROGLQJV&RUS                                                          Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


6   GGP                                    GGP                                 Rent                                                                            $441,568.24
    350 North Orleans                      Tel: 312-960-5401
    Suite 300                              Email: Nancy.Bernero@ggp.com
    Chicago, IL 60654-1607




7   Emerge Technologies, Inc.              Emerge Technologies, Inc.           Merch                                                                           $331,344.00
    Dept. 3779                             Tel: 508-277-9330
    Dallas, TX 75312 3779                  Email: jay@dedicatedsales.com




8   Axent Wear, Inc                        Axent Wear, Inc                     Expense                                                                         $309,317.32
    21515 Hawthorne Blvd                   Email: victoriahu.rm@gmail.com
    Torrance, CA 90503




9   Shenzhen Cham Battery Techno           Shenzhen Cham Battery Techno        Merch                                                                           $296,461.20
    B3 Bldg. Gao Xin Jian                  Tel: 86 136 5035 6890
    Shenzhen Guang Don, 518103             Email: sammy@powerocks.com




10 Shenzhen Forrest Health                 Shenzhen Forrest Health             Merch                                                                           $277,072.02
   Building 2A, No 48                      Tel: 86 755 2518 5991
   Shenzhen,                               Email: Pan@forrestmassager.com




11 Qbe Insurance Corporation               Qbe Insurance Corporation           Expense                                                                         $239,846.92
   Attn. Lynn Grunst                       Tel: 608-837-4440
   Sun Prairie, WI 53596                   Fax: 608-837-0583




12 Pilot Air Freight Corp                  Pilot Air Freight Corp              Expense                                                                         $218,557.17
   Pob Ox 654058                           Tel: 484-234-4375
   Dallas, TX 75265-4058




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        Page 2
                                    Case 18-11780-BLS                   Doc 1   Filed 08/02/18               Page 9 of 18


Debtor name       %URRNVWRQH+ROGLQJV&RUS                                                            Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                               claim is
mailing address, including zip            email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


13 Cozzia Usa LLC                         Cozzia Usa LLC                        Merch                                                                           $201,519.00
   861 S. Oak Park Road                   Tel: 410-271-0923
   Covina, CA 91724                       Email: JohnC@cozziausa.com




14 Taubman-Cherry Creek Lp                Taubman-Cherry Creek Lp               Rent                                                                            $193,986.34
   P.O. Box 67000                         Tel: 248-258-7562
   Detroit, MI 48267-0898                 Email: Jsanders@Taubman.com




15 Demandware Inc                         Demandware Inc                        Expense                                                                         $192,033.84
   5 Wall Street                          Tel: 978-430-7565
   Burlington, MA 01803                   Email: Tpetzold@salesforce.com




16 Westfield Concession Management        Westfield Concession Management       Rent                                                                            $191,896.18
   Attn: Judy Tuttle, VP                  Tel: 310-689-5623
   2730 University Boulevard West 900     Email: Cbuenaventura@westfield.com
   Wheaton, MD 20902



17 Federal Express                        Federal Express                       Expense                                                                         $186,127.47
   P.O. Box 371461                        Tel: 855-552-5393 Ext 3078
   Pittsburgh, PA 15250-7461              Email: ccjeffries@fedex.com




18 The Bernard Group                      The Bernard Group                     Expense                                                                         $185,254.16
   19011 Lake Drive East                  Tel: 952-934-1900
   Chanhassen, MN 55317




19 Scosche                                Scosche                               Merch                                                                           $184,852.60
   1550 Pacific Ave                       Tel: 805 486 4450
   Oxnard,, CA 93034                      Email: tylerd@scosche.com




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          Page 3
                                       Case 18-11780-BLS                 Doc 1       Filed 08/02/18              Page 10 of 18


Debtor name        %URRNVWRQH+ROGLQJV&RUS                                                                Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                  claim is
mailing address, including zip              email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


20 Grantec Zhangzhou Co. Ltd                Grantec Zhangzhou Co. Ltd                Merch                                                                           $184,394.80
   14F B04 Bldg Software Par                Tel: 0592-6296673
   Fujian,                                  Fax: 0592-6296663
                                            Email: lee@grantec.com.cn



21 Session M, Inc.                          Session M, Inc.                          Expense                                                                         $182,250.00
   2 Seaport Lane                           Tel: 888-226-9756
   Boston, MA 02210




22 Macerich                                 Macerich                                 Rent                                                                            $180,072.16
   401 Wilshire Boulevard, Suite 700        Tel: 602-953-6328
   Santa Monica, CA 90401                   Email: Tamara.Ortega@macerich.com




23 Boston Retail Partners, LLC              Boston Retail Partners, LLC              Expense                                                                         $179,187.77
   P.O. Box 2252                            Tel: 781Ǧ858Ǧ1086
   Birmingham, AL 35246-1058                Email: sjoyce@bostonretailpartners.com




24 Acctron Company Limited                  Acctron Company Limited                  Merch                                                                           $177,766.88
   Attn:Controller                          Email: desmond@acctron.net.cn
   Merrimack, NH 03054




25 Jiangsu Cross-Border                     Jiangsu Cross-Border                     Merch                                                                           $168,840.00
   E-Comm Service Co Ltd                    Tel: 86-025-84356754
   Nanjing, China, 210049                   Fax: 86-025-84356508




26 Aon Risk Services Northeast, I           Aon Risk Services Northeast, I           Expense                                                                         $167,857.50
   P.O. Box 7247-7376                       Tel: 617-482-3100
   Philadelphia, PA 19170-7376              Fax: 617-542-2597




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             Page 4
                                  Case 18-11780-BLS                   Doc 1     Filed 08/02/18              Page 11 of 18


Debtor name        %URRNVWRQH+ROGLQJV&RUS                                                           Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                               claim is
mailing address, including zip            email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


27 Samsonite LLC                          Samsonite LLC                         Merch                                                                           $163,022.28
   Dept Ch 19296                          Tel: 415-922-1959
   Palatine, IL 60055-9296                Fax: 415-922-8659
                                          Email: Linda.Doty@Samsonite.com



28 Little Upstarts, Inc.                  Little Upstarts, Inc.                 Merch                                                                           $159,587.56
   2589 Sandhurst Drive                   Tel: 781-974-6863
   Lewis Center, OH 43035                 Email: jene@jemasales.com




29 Taishin Electronic Co Ltd              Taishin Electronic Co Ltd             Merch                                                                           $140,386.40
   Attn:Controller                        Email: sherryhuang@chinataishin.com
   Merrimack, NH 03054




30 Health Care Co Ltd                     Health Care Co Ltd                    Merch                                                                           $137,156.12
   No 999 Gaonan Road
   Dingyan Rugao City,




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          Page 5
                  Case 18-11780-BLS              Doc 1      Filed 08/02/18        Page 12 of 18




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

BROOKSTONE HOLDINGS CORP., et al., 1                               Case No. 18-_____ (___)

                            Debtors.                               (Joint Administration Requested)


                 CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                 AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                   BANKRUPTCY RULES 1007(a)(1), 1007(a)(3), AND 7007

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Brookstone Holdings Corp., a Delaware Corporation, and the affiliated debtors and debtors in

Possession (each a “Debtor”), hereby state as follows:

          1.       Non-Debtor Sailing Innovation Ltd. owns 100% of Debtor Brookstone Holdings

Corp.

          2.       Debtor Brookstone Holdings Corp. owns 100% of Debtor Brookstone, Inc.

          3.       Debtor Brookstone, Inc. owns 100% of Debtor Brookstone Company, Inc.

          4.       Debtor Brookstone Company, Inc. owns 100% of each of the following Debtors:

(i) Brookstone Retail Puerto Rico, Inc.; (ii) Brookstone International Holdings, Inc.; (iii)

Brookstone Purchasing, Inc.; and (iv) Brookstone Stores, Inc.

          5.       Debtor Brookstone Stores, Inc. owns 100% of Debtor Brookstone Holdings, Inc.




1
    The Debtors, along with the last four digits of each Debtor’s tax identification number, are: Brookstone Holdings
    Corp. (4638), Brookstone, Inc. (2895), Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico, Inc.
    (5552), Brookstone International Holdings, Inc. (8382), Brookstone Purchasing, Inc. (2514), Brookstone Stores,
    Inc. (2513), Brookstone Hong Kong Holdings Limited (N/A), Big Blue Audio LLC (N/A), Brookstone Holdings,
    Inc. (2515); and, Brookstone Properties, Inc. (2517). The Debtors’ corporate headquarters and the mailing address
    for each Debtor is One Innovation Way, Merrimack, NH 03054.
             Case 18-11780-BLS        Doc 1    Filed 08/02/18    Page 13 of 18




       6.     Debtor Brookstone Holdings, Inc. owns 100% of each of the following Debtors: (i)

Brookstone Properties, Inc.; and (ii) Big Blue Audio LLC.


                         [Remainder of page intentionally left blank]
           Case 18-11780-BLS       Doc 1     Filed 08/02/18     Page 14 of 18




                              RESOLUTIONS
                                   OF
                         THE BOARD OF DIRECTORS
                                   OF
                       BROOKSTONE HOLDINGS CORP.
                            BROOKSTONE, INC.
                        BROOKSTONE COMPANY, INC.


                               Adopted $XJXVW, 2018

                Authorization for Filing a Voluntary Petition Under
              Chapter 11 of the Bankruptcy Code and Related Matters


WHEREAS:      The board of directors (the “Board”) has considered the business and financial
              condition and results of operations of each of Brookstone Holdings Corp.,
              Brookstone, Inc., Brookstone Company, Inc., and each of Brookstone
              Company, Inc.’s subsidiaries: Brookstone Holdings, Inc., Brookstone
              International Holdings, Inc., Brookstone Properties, Inc., Brookstone
              Purchasing, Inc., Brookstone Retail Puerto Rico, Inc., Brookstone Stores, Inc.,
              and Big Blue Audio LLC (each, individually, a “Corporation” and collectively
              the “Corporations”), on the date hereof, including the assets and liabilities of
              the Corporations; and

WHEREAS:      The Board has reviewed, considered, and received the recommendations of
              the legal, financial, and other advisors of the Corporations as to the relative
              risks and benefits of certain strategic alternatives available to the
              Corporations, including pursuing a bankruptcy under chapter 11 (“Chapter
              11”) of title 11 of the United States Code, 11 U. S. C. §§ 101 el seq. (the
              “Bankruptcy Code”).

              NOW THEREFORE, it is hereby:

RESOLVED:     That in the judgment of the Board, it is desirable and in the best interests of
              each of the Corporations’ creditors, stockholders, and other parties in interest
              that the Corporations commence bankruptcy proceedings (the “Chapter 11
              Case”) by filing a voluntary petition for relief under the provisions of Chapter
              11 of the Bankruptcy Code in the United States Bankruptcy Court for the
              District of Delaware (the “Bankruptcy Court”) on or after August 2, 2018;

RESOLVED:     That Piau Phang Foo, the President and Chief Executive Officer, Greg Tribou,
              the Vice President, Chief Financial Officer and Treasurer, Stephen A. Gould,
              the Senior Vice President, Secretary, and General Counsel or such other
              officers as may be designated by the President and Chief Executive Officer
              (each, an “Authorized Officer” and collectively, the “Authorized Officers”)
              be, and each of them hereby is, acting singly or together, authorized and
              directed, in the name of and on behalf of the Corporations, to execute and
        Case 18-11780-BLS        Doc 1    Filed 08/02/18     Page 15 of 18




            verify a petition under Chapter 11 of the Bankruptcy Code and to cause the
            same to be filed in the Bankruptcy Court at such time as the Authorized
            Officer executing the petition shall determine;

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to execute and file, in the name of and on
            behalf of the Corporations, all petitions, agreements, pleadings, and other
            documents or papers, and to take any and all action that such Authorized
            Officers deem necessary or proper, in connection with the Chapter 11 Case;

            File and Prosecute Confirmation of a Chapter 11 Plan

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed in the name of and on behalf of the
            Corporations to execute a Chapter 11 plan (a “Plan”), and to enter into and
            execute such additional documents, agreements, consents, certificates,
            amendments, supplements, and instruments as may be necessary to obtain
            confirmation of any Plan which may be contemplated;

RESOLVED:   That all acts and actions taken by the Corporations and the Authorized
            Officers prior to the date hereof with respect to any agreement that may be
            negotiated, any Plan and the transactions contemplated therein shall be, and
            hereby are, in all respects confirmed, approved and ratified;

                              Postpetition Financing

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed in the name of and on behalf of the
            Corporations to negotiate, execute and deliver appropriate agreements for
            postpetition financing, now or hereinafter contemplated, to be provided by any
            interested party on any basis and with any terms which the Corporations
            determine, in the exercise of the business judgment of the Corporations, would
            be beneficial to the Corporations in connection with the Chapter 11 Case,
            including the granting of claims or liens of any kind or priority to such
            lender(s) party to such agreement(s) (including, without limitation, any
            superpriority administrative expense claims or priming liens), and to take such
            additional action and to execute and deliver each other agreement, instrument
            or document proposed to be executed and delivered by or on behalf of the
            Corporations pursuant thereto or in connection therewith, all with such
            changes therein and additions thereto as any such officer may approve, such
            approval to be conclusively evidenced by the taking of such action or the
            execution and delivery thereto;

                           Cash Collateral Agreement

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together authorized, empowered, and directed to negotiate, execute, and
            deliver appropriate agreements for the use of cash collateral in connection


                                         2
        Case 18-11780-BLS         Doc 1     Filed 08/02/18      Page 16 of 18




            with the Corporations’ Chapter 11 Cases, which agreement(s) may require the
            Corporations to acknowledge the debt and liens of existing loans, grant liens
            and pay interest to the Corporations’ existing lender(s), and to take such
            additional action and to execute and deliver each other agreement, instrument,
            or document, to be executed and delivered by or on behalf of the Corporations
            pursuant thereto or in connection therewith, all with such changes therein and
            additions thereto as any Authorized Officer approves, such approval to be
            conclusively evidenced by the taking of such action or by the execution and
            delivery thereof;

                                          Sale

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed in the name of and on behalf of the
            Corporations to a) enter into negotiations with any interested parties regarding
            a purchase of any or all of the assets (of any kind) of any or all of the
            Corporations or any of the Corporations’ other direct or indirect subsidiaries,
            whether pursuant to a plan or otherwise (such sale, a “Sale”), b) execute and
            deliver an agreement providing for such Sale (the “Sale Agreement”) in
            connection with the Sale, c) enter into such additional agreements, consents,
            certificates, amendments, and instruments as may be necessary to obtain
            approval for the transactions contemplated thereby, d) if the Authorized
            Officers deem it necessary or appropriate, seek approval from the Bankruptcy
            Court for authority under the Bankruptcy Code and any other relevant or
            applicable federal, state, local, or non-U.S. law to sell such assets in a Sale, e)
            to organize and manage a sales process for such assets, which may take the
            form of an auction or any other process which may include the identification
            of a stalking horse bidder, as well as negotiating and entering into an
            agreement with such stalking horse bidder, and f) enter into such additional
            agreements, consents, certificates, amendments, and instruments as may be
            necessary to obtain approval for and effect the transactions contemplated
            thereby;

RESOLVED:   That all acts and actions taken by the Corporations and the Authorized
            Officers prior to the date hereof with respect to the any Sale which may be
            negotiated, and the transactions contemplated thereby and thereunder, shall
            be, and hereby are, in all respects confirmed, approved and ratified;

                             Chapter 11 Professionals

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to employ and retain the law firm of Gibson,
            Dunn & Crutcher LLP as bankruptcy counsel to represent and assist the
            Corporations in carrying out their duties under the Bankruptcy Code and to
            take any and all actions to advance the Corporations’ rights and obligations,
            including filing any pleadings; and in connection therewith, the Authorized
            Officers be, and each of them hereby is, acting singly or together, authorized


                                           3
        Case 18-11780-BLS        Doc 1     Filed 08/02/18     Page 17 of 18




            and directed to execute appropriate retention agreements, pay appropriate
            retainers prior to and immediately upon filing of the Chapter 11 Case, and
            cause to be filed an appropriate application for authority to retain the services
            of Gibson, Dunn & Crutcher LLP;

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to employ and retain the firm of Young
            Conaway Stargatt & Taylor, LLP, as Delaware counsel and, to the extent
            necessary or desirable, conflicts counsel, to represent and assist the
            Corporations in carrying out their duties under the Bankruptcy Code and to
            take any and all actions to advance the Corporations’ rights and obligations;
            including filing any pleadings; and in connection therewith, the Authorized
            Officers be, and each of them hereby is, acting singly or together, authorized
            and directed to execute appropriate retention agreements, pay appropriate
            retainers prior to and immediately upon filing of the Chapter 11 Case, and
            cause to be filed an appropriate application for authority to retain the services
            of Young Conaway Stargatt & Taylor, LLP;

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to employ and retain the financial advisory
            firm of Berkeley Research Group, LLC as financial advisors to represent and
            assist the Corporations in carrying out their duties under the Bankruptcy Code
            and to take any and all actions to advance the Corporations’ rights and
            obligations; and in connection therewith, the Authorized Officers be, and each
            of them hereby is, acting singly or together, authorized and directed to execute
            appropriate retention agreements, pay appropriate retainers prior to and
            immediately upon filing of the Chapter 11 Case, and cause to be filed an
            appropriate application for authority to retain the services of Berkeley
            Research Group, LLC;

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to employ and retain the financial advisory
            firm of GLC Advisors & Co. as investment banker to represent and assist the
            Corporations in carrying out their duties under the Bankruptcy Code and to
            take any and all actions to advance the Corporations’ rights and obligations;
            and in connection therewith, the Authorized Officers be, and each of them
            hereby is, acting singly or together, authorized and directed to execute
            appropriate retention agreements, pay appropriate retainers prior to and
            immediately upon filing of the Chapter 11 Case, and cause to be filed an
            appropriate application for authority to retain the services of GLC Advisors &
            Co.;

RESOLVED:   That the Authorized Officers be, and each of them hereby is, acting singly or
            together, authorized and directed to employ and retain the firm of Omni
            Management Group as claims, noticing, balloting and administrative agent to
            represent and assist the Corporations in carrying out their duties under the
            Bankruptcy Code and to take any and all actions to advance the Corporations’


                                          4
            Case 18-11780-BLS        Doc 1     Filed 08/02/18     Page 18 of 18




                rights and obligations; and in connection therewith, the Authorized Officers
                be, and each of them hereby is, acting singly or together, authorized and
                directed to execute appropriate retention agreements, pay appropriate retainers
                prior to and immediately upon filing of the Chapter 11 Case, and cause to be
                filed an appropriate application for authority to retain the services of Omni
                Management Group;

                                          General

 RESOLVED:      That, in addition to the specific authorization previously conferred herein
                upon the Authorized Officers, any other authorized officers, agents or their
                designees hereby be, and they are, and each of them acting singly is,
                authorized and directed, in the name of and on behalf of the Corporations, to
                take or cause to be taken any and all such further actions, execute and deliver
                any and all such petitions, agreements, pleadings, and other documents or
                papers, and pay all expenses, including filing fees, in each case as in such
                authorized officer’s judgment shall be necessary or desirable to fully carry out
                the intent and accomplish the purpose of the resolutions adopted herein;

 RESOLVED:      That all documents, agreements and instruments executed and delivered, and
                any and all acts, actions, and transactions relating to the matters contemplated
                by the resolutions herein done in the name of and on behalf of the
                Corporations, which acts would have been approved by the resolutions herein
                except that such actions were taken before these resolutions were approved
                and adopted by the Board, are hereby in all respects approved and ratified;

 RESOLVED:      That these resolutions be maintained in the Board of Directors records of the
                Corporations.

       IN WITNESS WHEREOF, the foregoing resolutions were duly adopted by the Board
duly called and convened on the date first set forth above.

                                          BROOKSTONE HOLDINGS CORP.
                                          BROOKSTONE, INC.
                                          BROOKSTONE COMPANY, INC.




                                           V6WHSKHQ$*RXOG
                                          _____________________________________
                                          Stephen A. Gould, Secretary




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